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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MERCK & CO., INC., and MERCK
 SHARP & DOHME LLC,

                    Plaintiffs,

          v.                                          Civil Action No. 1:23-cv-01615-CKK

 XAVIER BECERRA, U.S. Secretary of
 Health and Human Services, et al.,

                    Defendants.


                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                       NOTICE OF SUPPLEMENTAL AUTHORITY
       The Supreme Court’s recent decision in Sheetz v. County of El Dorado, California

addresses the narrow question of whether the so-called “Nollan/Dolan test”—which asks whether

“permit conditions [] have an ‘essential nexus’” and “‘rough proportionality’” to the

“government’s     land-use interest”—“recognizes        a distinction    between    legislative   and

administrative conditions on land-use permits.” 2024 WL 1588707, at *4-5 (U.S. Apr. 12, 2024).

The Court held that it does not. Id. *2. As the Court explained, the test applies to land-use

conditions imposed by legislatures no less than to conditions imposed by administrative bodies.

Id.

       Plaintiffs here ask this Court to go much further, and apply the Nollan/Dolan nexus-and-

rough-proportionality framework outside the land-use context entirely. See Pls. Notice, ECF 66

at 1-2. But, as Defendants explained in their prior briefs, the Supreme Court has made clear that

the Nollan/Dolan test is reserved for the “‘special application’ of . . . land-use permits.” Koontz v.

St. Johns River Water Mgmt. Dist., 570 U.S. 595, 604 (2013) (discussing the doctrine); Lingle v.

Chevron U.S.A. Inc., 544 U.S. 528, 538 (2005) (noting the “special context of land-use exactions”).

Nothing in Sheetz suggests that the Supreme Court was overruling that precedent. To the contrary,

the Court’s observation that the “Nollan/Dolan test is rooted” in “the unconstitutional conditions
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doctrine” highlights that the test reflects a special application of that doctrine, not a universal one.

Sheetz, 2024 WL 1588707, at *6-7. Neither the majority nor any of the concurrences suggest

expanding the test beyond its confines.

       Defendants detailed in their prior briefs why the unique aspects of the land-use context,

described by the Court in Koontz, are absent in this case—making the Nollan/Dolan test

inapplicable. See, e.g., Defs’ Reply Br., ECF No. 63 at 12-13. The Court’s discussion in Sheetz

reiterate how the Nollan/Dolan test addresses the unique and “complicated” features “of the

permitting process.” Sheetz, 2024 WL 1588707, at *4-5. That discussion underscores that

extending the test outside the land-use context would be an enormous and unjustified leap.




Dated: April 18, 2024                               Respectfully submitted,

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